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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                    MIDLAND DIVISION

 CHURBY CONAWAY,                                   §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                § Civil Action No. 7:22-cv-00260-DC-RCG
                                                   §
 LAKEVIEW LOAN SERVICING, LLC,                     §
                                                   §
                                                   §
          Defendant.                               §

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff CHURBY CONAWAY (“Plaintiffs”) and Defendant LAKEVIEW LOAN

SERVICING, LLC (“Defendant”) (collectively the “Parties”), by and through their undersigned

counsel, hereby stipulate and agree as follows:

         1. That pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims and causes

             of action asserted or that could have been asserted by Plaintiff against Defendant are

             hereby dismissed with prejudice.

         2. That Defendant’s counterclaim against Plaintiff is hereby dismissed with prejudice.

                                                Respectfully submitted,

                                                By:    /s/ Nathan F. Smith
                                                       Nathan F. Smith, Esq.
                                                       State Bar No. 24094355
                                                       Michael Cisneros, A Law Corporation
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                                                       ATTORNEYS FOR DEFENDANT




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                                     By:   /s/ James Minerve
                                           James Minerve
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                                  CERTIFICATE OF SERVICE
       I, Christina Valenzuela, the undersigned, hereby certify that the foregoing document will be
served via ECF to the following parties on February 10, 2023:


Nathan Frederick Jones Smith
nathan@mclaw.org, cvalenzuela@mclaw.org

James Minerve
jgminerve@aol.com, jgm@minervelaw.com




                                            /s/ Christina Valenzuela
                                            Christina Valenzuela
                                            An employee of MALCOLM ♦ CISNEROS, ALC
